            Case 1:18-cv-02921-JMF Document 398 Filed 10/24/18 Page 1 of 4



                                                   U.S. Department of Justice
                                                   Civil Division
                                                   Federal Programs Branch
                                                   1100 L Street NW
                                                   Washington, DC 20005


October 24, 2018

The Honorable Jesse M. Furman
United States District Court for the Southern District of New York
Thurgood Marshall U.S. Courthouse
40 Centre Street, Room 2202
New York, NY 10007

        RE:      Defendants’ Status Report in State of New York, et al. v. U.S. Dep’t of Commerce,
                 et al., 18-CV-2921 (JMF).

Dear Judge Furman,

         Pursuant to the Court’s October 23, 2018 Order (Docket No. 390), Defendants 1 submit
this letter addressing: “(1) when the deposition of Mr. Gore will take place; (2) the status of any
open discovery items; (3) the implications of the Supreme Court’s continuing stay of the
Secretary Ross deposition; and (4) any other issues the parties believe should be discussed at the
conference.” Those issues are addressed separately below.

        1. The Deposition of John Gore.

        Mr. Gore’s deposition will take place on Friday, October 26, 2018.

        2. The Status of Any Other Open Discovery Items.

        After the Supreme Court’s stay was lifted, except with regard to this Court’s September
21, 2018 Order authorizing the deposition of the Secretary of Commerce, Defendants have taken
significant steps to meet all discovery obligations that were open or outstanding at the time the
stay was entered.

        At the time the stay was entered, there were five witnesses whom Plaintiffs were seeking
to depose that had not yet given deposition testimony: Secretary Ross, Mr. Gore, Sahra Park-Su,
David Langdon, and third-party Mark Neuman. Secretary Ross’s deposition is still stayed by
order of the Supreme Court, so Defendants will not produce him for deposition unless and until
such a stay is lifted. As noted above in Section 1, Mr. Gore’s deposition has been scheduled.

        1
            While this Court ordered the Parties to submit “a joint letter (or, if impractical, separate
letters),” ECF No. 390, given the short timetable the Parties conferred and determined it would not be
practical to coordinate a joint response and decided that the filing of separate letters was the only practical
way for the Parties to provide the Court with the information requested.


                                                      1
         Case 1:18-cv-02921-JMF Document 398 Filed 10/24/18 Page 2 of 4



Ms. Park-Su’s deposition will take place on Thursday, October 25, 2018, and Mr. Langdon’s
deposition will take place on October 26, 2018. Mr. Neuman is not represented by Defendants,
but the Parties have been in contact with Mr. Neuman’s counsel to schedule that deposition as
soon as practically possible. Defendants understand that Mr. Neuman’s deposition will proceed
this Sunday, October 28.

        At the time the stay was entered, there were also several written discovery matters that
were subject to the stay. Shortly after the stay lifted, on October 23, 2018, Defendants served all
remaining written discovery matters and non-privileged documents. Defendants produced 779
documents, totaling 3,094 pages, from the Department of Commerce in response to Plaintiffs’
requests for production of documents. During the pendency of the stay, Defendants also
produced 5,949 pages of documents from the Department of Commerce, pursuant to the Parties’
agreement to resolve Plaintiffs’ fifth motion to compel. Also, on October 23, 2018, Defendants
produced documents, totaling approximately 92,000 pages, from the Department of Justice in
response to Plaintiffs’ Rule 45 subpoena requesting the production of documents. The document
productions of both Department of Commerce and Department of Justice documents were
accompanied by privilege logs identifying any documents withheld in whole or in part under any
assertion of privilege. These Department of Justice productions included 125 documents
Defendants had previously withheld as protected under the deliberative process privilege that
Defendants agreed to produce after meeting and conferring with Plaintiffs. Defendants also
served Plaintiffs with (1) objections and responses to Plaintiffs’ 206 Requests for Admission
from the Census Bureau; (2) objections and responses to Plaintiffs’ 141 Requests for Admission
from the Department Commerce; and (3) objections and responses to Plaintiffs’ Third Set of
Interrogatories, on October 23, 2018.

        Plaintiffs continue to seek the production of the actual transcripts from 42 focus groups
conducted as part of the 2018 Census Barriers, Attitudes and Motivators Study. However, such
material is highly sensitive to those involved, and is protected by 13 U.S.C. §§ 9 and 214.
Participants in such focus groups are expressly promised that their responses will never be
disclosed in such a way that could possibly identify them or their households, and protecting the
privacy of any respondent is of paramount importance to the Census Bureau. Based on the
Census Bureau’s research, there is no reliable way to conduct a completely effective disclosure
avoidance review of full transcripts for their disclosure. Defendants notified Plaintiffs on
September 20, 2018 that such materials were protected by Title 13 and explained in detail why
they would not be disclosed, see Exhibit 1 at 1, and Plaintiffs raised no objection to this until
October 12, 2018, when Dr. Abowd mentioned them in testimony during his expert witness
deposition. Defendants have produced a number of redacted transcript summaries of CBAMS
focus groups that were reviewed and approved for disclosure by the Census Bureau’s Disclosure
Review Board to Plaintiffs, as indicated in Defendants’ September 20, 2018 email. Id.

        Plaintiffs have also sought additional information regarding Defendants’ production of
the Secretary’s calendars and calendars for the Secretary’s conference room. Defendants made a
further production of such material on October 23, 2018 as a response to concerns raised by
Plaintiffs, and Defendants also served their objections and responses to Plaintiffs’ Second
Request for Documents (seeking these materials) and an accompanying privilege log, which
Defendants believe completes their obligation to produce any such materials.



                                                 2
            Case 1:18-cv-02921-JMF Document 398 Filed 10/24/18 Page 3 of 4



      Accordingly, Defendants have complied with all outstanding discovery orders other than
upcoming depositions, which are scheduled to take place by the end of the week.

        3. The Implications of the Supreme Court’s Order Continuing the Stay of the Deposition
           of Secretary Ross.

        On October 22, 2018 the Supreme Court issued a decision continuing the stay of the
deposition of Secretary Ross until the resolution of Defendants’ anticipated filing of a petition
for a writ of certiorari or a writ of mandamus, and inviting Defendants to argue for review of this
Court’s July 3, 2018 order authorizing extra-record discovery, ECF No. 199, and this Court’s
August 17, 2018 order authorizing the deposition of Mr. Gore, ECF No. 261, in any such
petition, although the Court declined to stay such discovery. In a separate opinion, Justice
Gorsuch, joined by Justice Thomas, noted that “[t]oday, the Court signals that it is likely to grant
the government’s petition [challenging extra-record discovery]” and noting that “[o]ne would
expect that the Court’s order today would prompt the district court to postpone the scheduled
trial and await further guidance.” In light of this order, Defendants believe that, for the reasons
set forth by Justice Gorsuch, an order staying trial and staying all pre-trial matters is appropriate
pending the Supreme Court’s consideration of the government’s forthcoming petition. On
October 23, 2018, Defendants filed a motion seeking such a stay, ECF No. 397, which sets forth
Defendants’ position in more detail.

        4. Any Other Issues.

        Defendants are not aware of any other issues that the Court needs to address at today’s
status conference, other than those outlined above or that are the subject of currently-pending
motions. 2



Dated: October 24, 2018                          Respectfully submitted,

                                                 JOSEPH H. HUNT
                                                 Assistant Attorney General

                                                 BRETT A. SHUMATE
                                                 Deputy Assistant Attorney General

                                                 JOHN R. GRIFFITHS
                                                 Director, Federal Programs Branch

                                                 CARLOTTA P. WELLS
                                                 JOSHUA E. GARDNER
                                                 Assistant Branch Directors
        2
           Plaintiffs have three motions currently pending before the Court: a motion for leave to present
live direct testimony, ECF No. 386; a motion to preclude expert testimony, ECF No. 387; and a motion to
authorize remote trial testimony or de bene esse trial depositions of Department of Commerce officials,
ECF No. 389.


                                                    3
Case 1:18-cv-02921-JMF Document 398 Filed 10/24/18 Page 4 of 4




                            /s/ Martin M. Tomlinson
                            KATE BAILEY
                            GARRETT COYLE
                            STEPHEN EHRLICH
                            CAROL FEDERIGHI
                            DANIEL HALAINEN
                            MARTIN M. TOMLINSON
                            Trial Attorneys
                            United States Department of Justice
                            Civil Division, Federal Programs Branch
                            1100 L Street NW
                            Washington, DC 20005
                            Tel.: (202) 353-4556
                            Fax: (202) 616-8470
                            Email: martin.m.tomlinson@usdoj.gov

                            Counsel for Defendants




                              4
